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                       IN UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION


IN RE: INTRAMTA SWITCHED ACCESS           § Civil Action No. 3:14-MD-2587-D
CHARGES LITIGATION                        § (MDL No. 2587)
                                          §
THIS DOCUMENT RELATES TO:                 §
                                          §
MCI COMMUNICATIONS SERVICES, INC.         §
and VERIZON SELECT SERVICES INC.          §
                                          §
              Plaintiffs/Counterclaim-    §
              Defendants,                 §
                                          §
v.                                        § Civil Action No. 3:14-CV-4427-D
                                          §
AT&T COMMUNICATIONS OF TEXAS,             §
LLC; AT&T COMMUNICATIONS OF               §
VIRGINIA, LLC; TELEPORT                   §
COMMUNICATIONS AMERICA, LLC;              §
TELEPORT COMMUNICATIONS                   §
ATLANTA, INC.; TELEPORT                   §
COMMUNICATIONS GROUP INC.;                §
ELECTRIC LIGHTWAVE LLC;                   §
CENTURYTEL OF ALABAMA, LLC;               §
CENTURYTEL OF EAGLE, INC.; UNITED         §
TELEPHONE COMPANY OF THE WEST;            §
COX ARKANSAS TELCOM, L.L.C.; COX          §
COM LLC; COX NEVADA TELCOM, LLC;          §
COX RHODE ISLAND TELCOM, LLC;             §
TIME WARNER CABLE INFORMATION             §
SERVICES (INDIANA), LLC; TIME             §
WARNER CABLE INFORMATION                  §
SERVICES (KENTUCKY), LLC; TIME            §
WARNER CABLE INFORMATION                  §
SERVICES (MAINE), LLC; TIME WARNER        §
CABLE INFORMATION SERVICES                §
(MASSACHUSETTS), LLC; TIME WARNER         §
CABLE INFORMATION SERVICES                §
(NORTH CAROLINA), LLC; TIME               §
WARNER CABLE INFORMATION                  §
SERVICES (OHIO), LLC; TIME WARNER         §
CABLE INFORMATION SERVICES                §
(TEXAS), LLC; CAVALIER TELEPHONE          §
MID-ATLANTIC, LLC; MCLEODUSA              §


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TELECOMMUNICATIONS SERVICES,                §
L.L.C.; PAETEC COMMUNICATIONS, LLC;         §
US LEC OF PENNSYLVANIA LLC; US LEC          §
OF SOUTH CAROLINA LLC; US LEC OF            §
TENNESSEE LLC; US LEC OF VIRGINIA           §
LLC; VALOR TELECOMMUNICATIONS               §
OF TEXAS, LLC; WINDSTREAM D&E               §
SYSTEMS, LLC; WINDSTREAM D&E,               §
INC.; WINDSTREAM KENTUCKY EAST,             §
LLC; WINDSTREAM NEBRASKA, INC.;             §
WINDSTREAM NUVOX, LLC;                      §
WINDSTREAM PENNSYLVANIA, INC.;              §
NORTHERN NEW ENGLAND TELEPHONE              §
OPERATIONS LLC; and TELEPHONE               §
OPERATING COMPANY OF VERMONT                §
LLC,                                        §
                                            §
             Defendants/Counterclaim-       §
             Plaintiffs,                    §
                                            §
ACCESS POINT, INC.; ADVANCED                §
TELCOM GROUP, INC.; BRIGHT HOUSE            §
NETWORKS INFORMATION SERVICES               §
(FLORIDA), LLC; BRIGHT HOUSE                §
NETWORKS INFORMATION SERVICES               §
(INDIANA), LLC; BROADVIEW                   §
NETWORKS, INC.; CABLEVISION                 §
LIGHTPATH, INC.; CENTURYTEL OF              §
ALABAMA, LLC; CENTURYTEL OF                 §
EAGLE, INC.; CONSOLIDATED                   §
COMMUNICATIONS ENTERPRISE                   §
SERVICES, INC.; INTEGRA TELECOM             §
HOLDINGS, INC.; MEDIACOM                    §
TELEPHONY OF ILLINOIS, LLC; OTELCO          §
TELEPHONE LLC; SMART CITY                   §
TELECOMMUNICATIONS LLC; TW                  §
TELECOM OF COLORADO LLC; US                 §
XCHANGE OF INDIANA, L.L.C.; XO              §
COMMUNICATIONS SERVICES, LLC; and           §
XCHANGE TELECOM LLC,                        §
                                            §
             Defendants.                    §




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                                            Judgment

         For the reasons stated in the Court’s order entered on November 17, 2015, issued in In re

IntraMTA Switched Access Charges Litig., No. 3:14-MD-2587-D (N.D. Tex. Nov. 17, 2015)

(ECF No. 134) granting Defendant Local Exchange Carriers’ (“LECs”) motion to dismiss, IT IS

ORDERED AND ADJUDGED:

         That judgment is entered in the above-captioned actions dismissing all of MCI

COMMUNICATIONS SERVICES, INC. and VERIZON SELECT SERVICES INC.’s (“IXCs”)

claims against the LECs with prejudice.

         For the reasons stated in the Court’s May 15, 2018 Order, issued in In re IntraMTA

Switched Access Charges Litig., No. 3:14-MD-2587-D (N.D. Tex. May 15, 2018) (ECF No. 305)

granting summary judgment to the Counterclaimant LECs and against the IXCs in this

Proceeding: IT IS ORDERED AND ADJUDGED:

         That judgment is entered in the above-captioned action in favor of Counterclaimant

ELECTRIC LIGHTWAVE LLC and against Counterclaim-Defendants MCI

COMMUNICATIONS SERVICES, INC. and VERIZON SELECT SERVICES INC. in the

amount of $6,095.01, other than as to any attorney’s costs and fees.

         That judgment is entered in the above-captioned action in favor of Counterclaimants

AT&T COMMUNICATIONS OF TEXAS, LLC; AT&T COMMUNICATIONS OF VIRGINIA,

LLC; TELEPORT COMMUNICATIONS AMERICA, LLC; and TELEPORT




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COMMUNICATIONS ATLANTA, INC.1 and against Counterclaim-Defendants MCI

COMMUNICATIONS SERVICES, INC. and VERIZON SELECT SERVICES INC. as follows,

other than as to any attorney’s costs and fees:

    LEC                                                                           Stipulated LPC
                                                                                      Amount
    AT&T COMMUNICATIONS OF TEXAS, LLC                                                      $1,100.43

    AT&T COMMUNICATIONS OF VIRGINIA LLC                                                       $231.97

    TELEPORT COMMUNICATIONS AMERICA, LLC                                                    $2,484.92

    TELEPORT COMMUNICATIONS ATLANTA, INC.                                                  $12,313.56



          That judgment is entered in the above-captioned action in favor of Counterclaimants

CENTURYTEL OF ALABAMA, LLC; CENTURYTEL OF EAGLE, INC.; and UNITED

TELEPHONE COMPANY OF THE WEST and against Counterclaim-Defendants MCI

COMMUNICATIONS SERVICES, INC. and VERIZON SELECT SERVICES INC. in the

amount of $3,794.08, other than as to any attorney’s costs and fees.

          That judgment is entered in the above-captioned action in favor of Counterclaimants

COX ARKANSAS TELCOM, L.L.C.; COX COM LLC; COX NEVADA TELCOM, LLC; and

COX RHODE ISLAND TELCOM, LLC and against Counterclaim-Defendants MCI

COMMUNICATIONS SERVICES, INC. and VERIZON SELECT SERVICES INC. in the

amount of $3,545.05, other than as to any attorney’s costs and fees.




1
    Teleport Communications Group Inc., named as a defendant in this action, was a holding company that

did not provide telecommunications services. Teleport Communications Group Inc. was dissolved

effective June 30, 2015.

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         That judgment is entered in the above-captioned action in favor of Counterclaimant

TIME WARNER CABLE INFORMATION SERVICES (INDIANA), LLC; TIME WARNER

CABLE INFORMATION SERVICES (KENTUCKY), LLC; TIME WARNER CABLE

INFORMATION SERVICES (MAINE), LLC; TIME WARNER CABLE INFORMATION

SERVICES (MASSACHUSETTS), LLC; TIME WARNER CABLE INFORMATION

SERVICES (NORTH CAROLINA), LLC; TIME WARNER CABLE INFORMATION

SERVICES (OHIO), LLC; TIME WARNER CABLE INFORMATION SERVICES (TEXAS),

LLC, and against Counterclaim-Defendants MCI COMMUNICATIONS SERVICES, INC. and

VERIZON SELECT SERVICES INC. in the amount of $94,408.82, other than as to any

attorney’s costs and fees.

         That judgment is entered in the above-captioned action in favor of Counterclaimants

CAVALIER TELEPHONE MID-ATLANTIC, L.L.C.; MCLEODUSA

TELECOMMUNICATIONS SERVICES, L.L.C.; PAETEC COMMUNICATIONS, LLC; US

LEC OF PENNSYLVANIA LLC; US LEC OF SOUTH CAROLINA LLC; US LEC OF

TENNESSEE LLC; US LEC OF VIRGINIA LLC; VALOR TELECOMMUNICATIONS OF

TEXAS, LLC; WINDSTREAM D&E SYSTEMS, LLC; WINDSTREAM D&E, INC.;

WINDSTREAM KENTUCKY EAST, LLC; WINDSTREAM NEBRASKA, INC.;

WINDSTREAM NUVOX, LLC; and WINDSTREAM PENNSYLVANIA, INC. and against

Counterclaim-Defendants MCI COMMUNICATIONS SERVICES, INC. and VERIZON

SELECT SERVICES INC. in the amount of $67,298.46, other than as to any attorney’s costs and

fees.

         That judgment is entered in the above-captioned action in favor of Counterclaimants

NORTHERN NEW ENGLAND TELEPHONE OPERATIONS LLC, and TELEPHONE


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OPERATING COMPANY OF VERMONT LLC and against Counterclaim-Defendants MCI

COMMUNICATIONS SERVICES, INC. and VERIZON SELECT SERVICES INC. in the

amount of $9,269.10, other than as to any attorney’s costs and fees.

         This is a final, appealable judgment.



Dated: June 7, 2018                                   _______________________________
                                                      SIDNEY A. FITZWATER
                                                      UNITED STATES DISTRICT JUDGE




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